Case 2:22-cv-00809-MCS-MAR Document 41 Filed 05/19/22 Page 1 of 2 Page ID #:439



   1

   2

   3

   4

   5                                    NOTE CHANGES MADE BY THE COURT
   6

   7

   8                     UNITED STATES DISTRICT COURT
   9                   CENTRAL DISTRICT OF CALIFORNIA
       In re PANDORA MEDIA, LLC          Master File No.: 2:22-cv-00809-MCS-
  10   COPYRIGHT LITIGATION              MAR
  11                                     CONSOLIDATED ACTION
       This Document Relates To:         [PROPOSED] ORDER GRANTING
  12                                     STIPULATION (ECF No. 40)
       ALL ACTIONS
  13
                                         Honorable Mark C. Scarsi
  14                                     Courtroom: 7C
  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28


                              ORDER ON STIPULATION; MASTER FILE NO. 2:22-CV-00809-MCS-MAR
Case 2:22-cv-00809-MCS-MAR Document 41 Filed 05/19/22 Page 2 of 2 Page ID #:440



   1                                 [PROPOSED] ORDER
   2         Pursuant to the stipulation of the parties, and for good cause shown, the Court
   3   hereby approves the stipulation and orders as follows:
   4               1) The Plaintiffs in this Consolidated Action and Counter-Defendant
   5                   WordCollections, Inc. shall have up to and inclusive of July 15, 2022
   6                   to answer or otherwise respond to Pandora Media, LLC’s Counter-
   7                   Claims; and
   8               2) The Scheduling Conference presently set for July 11, 2022 is hereby
   9                   continued until a time convenient to the Court after July 15, 2022
  10                   August 29, 2022, at 10:00 a.m. The Court expects any motions to
  11                   dismiss to be set for hearing on or before the Scheduling
  12                   Conference date.
  13

  14   IT IS SO ORDERED
  15

  16   Dated: May 19, 2022
  17
                                                  _______________________________
  18
                                                             Mark C. Scarsi
  19                                                   United States District Judge
  20

  21

  22

  23

  24

  25

  26

  27

  28


                                               -1-
                      [PROPOSED] ORDER RE STIPULATION; MASTER FILE NO. 2:22-CV-00809-MCS-MAR
